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                     Case 2:21-cv-04601-RGK-KS Document 1-1 Filed 06/03/21 Page 1 of 10 Page ID #:85
                                                     21STCV15659
                                         Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Armen Tamzarian




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                       7


                       8                                    SUPERIOR COURT OF THE STATE OF CALIFORNIA
                      9                                                 FOR THE COUNTY OF LOS ANGELES

                     10                                                          UNLIMITEDJURISDICTION
                     11 AL FUASTINODE GUZMAN,an individual.                                               CaseNo.
                     12                            Plaintiff,                                             COMPLADST FOR:

                     13                vs.                                                                1. Violation of Labor Code § 1102. 5;
                                                                                                          2. Wrongful Discharge in Violation of
                     14 PACIFICAOFTHE VALLEY                                                                 Public Policy;
                        CORPORATION,a Delawarecorporation;                                                3. Intentional Infliction of Emotional Distress;
               .     15 GREGG YOST, an individual; PRECIOUS                                               4. Negligent Infliction of Emotional Distt-ess;
                                                                                                               and
                     16 MAYES,an individual;ASSIBIZ. ABUDU,
                        an individual;andDOES 1 through 50,                                               5. Violation ofBusiness & Professions Code §
                     17 inclusive,                                                                           17200, etseq.

                     18                                                                                  JURY TRIAL DEMANDED
                                                   Defendants.
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                     21

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                     26
               If


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                     28


                                                                                                COMPLAINT
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      1         Plaintiff AL FUASTINO DE GUZMAN ("Plaintiff), complains and allege as follows:
     2                                            INTRODUCTION

     3           1.     Plaintiff brings this action against Defendants PACIFICA OF THE VALLEY
     4 CORPORATION, a Delaware corporation; GREGG YOST, an individual; PRECIOUS MAYES, an

     5 individual; ASSIBI Z. ABUDU, an individual; and DOES 1 through 50, inclusive, (collectively

     6 referredto as "Defendants")for allegedviolations ofthe CaliforniaLaborCode, CaliforniaBusiness
     7 and Professions Code, and common law.

     8                                       JUMSDICTONAND VENUE

     9          2.      This Court has subject matter jurisdiction to hear this case because the monetary

    10 damagesandrestitutionsoughtby PlaintifffromDefendantsconductexceedstheminimaljurisdiction
*


    11 ofthe SuperiorCourt ofthe State ofCalifornia.
    12          3.      Venue is proper in the County of Los Angeles pursuant to Code of Civil Procedure

    13 sections 395(a) and 395. 5 in that liability arose this county because at least some ofthe transactions
    14 that are the subject matter of this Complaint occurred therein and/or each defendant is found,

    15 maintains offices, transacts business and/or has an agent therein or that Defendant is either a resident.

    16          4.      Venueis proper inLosAngelesCounty becauseDefendants'have at all times alleged

    17 herein, conducted business in Los Angeles County, and throughout California. As such, venue is

    18 proper in any county in California.
    19                                                PARTIES

    20          5.     Plaintiff AL FUASTINO DE GUZMAN is, and at all relevant times mentioned herein,

    21 an individualresidingin the StateofCalifornia.
«


    22          6.     Plaintiffis informed and believes, and thereupon alleges that DefendantPACIFICA
    23 OF THE VALLEYCORPORATION("Pacifica"),is, and at all relevant times mentioned herein, a

    24 Delawarecorporation doingbusinessin the StateofCalifornia.
    25          7.     Plaintiff is informed and believes, and thereupon alleges that Defendant GREGG

    26 YOST, is, and at all relevant times mentioned herein, an individual over the age of eighteen, and

    27 residing in the Stateof California.
    28          8.     Plaintiff is informed and believes, and thereupon alleges that Defendant PRECIOUS

                                                           1
                                                      COMPLAH^T
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    1 MAYES, is, and at all relevant times mentioned herein, an individual over the age of eighteen, and

    2 residing in the State of California.
    3          9.      Plaintiffis informed and believes, and thereupon alleges that Defendant ASSIBIZ.

    4 ABUDU, is, and at all relevant times mentioned herein, an individual over the age of eighteen, and
    5 residing in the State of California.

    6          10.    Plaintiffis ignorant ofthe tme names and capacitiesofthe defendants sued herein as

    7 DOES 1 through50, inclusive, andtherefore suesthesedefendantsby suchfictitiousnames. Plaintiff

    8 will amend this Complaint to allege the tme names and capacities of the DOE defendants when

    9 ascertained. Plaintiffis informed and believes, and thereupon alleges that each of the fictitiously
   10 named defendants are responsible in some manner for the occurrences, acts and omissions alleged

   11 hereinandthatPlaintiffs allegeddamageswereproximately causedby these defendants, andeachof

   12 them. Plaintiffwill amend this complaint to allege both the tme names and capacities of the DOE
   13 defendants when ascertained.

   14          11.    Plaintiff is infonned and believes, and thereupon alleges that, at all relevant times
   15 mentioned herein, some or all ofthe defendants were the representatives, agents, employees, partners,

   16 directors, associates,joint venturers, joint employers, principals or co-participants of some or all of
   17 the other defendants, and in doing the things alleged herein, were acting within the course and scope

   18 of such relationship and with the full knowledge, consent and ratification by such other defendants.
  19           12.    Plaintiff is informed and believes, and thereupon alleges that, at all relevant times

  20 mentionedherein, some ofthe defendantspursueda common course ofconduct, actedin concertand

  21 conspired with one another, and aided and abetted one another to accomplish the occurrences, acts
  22 and omissions alleged herein.

  23                                         GENERALALLEGATIONS

  24           13.    Plaintiff was hired by Pacifica on or about March 2002 as a respiratory therapist.

  25           14.    Plaintiffwas a hardworkingemployee who, for almost two decades,performed his

  26 duties in a competent and efficientmannerwithinPacifica'smles andpolicies.
  27          15.     On or around August 30, 2020, Plaintififnoticed that one of Pacifica's patients had

* 28 become unresponsive, and immediately contacted the chargenurse, Sophia. He then askedboth the


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*     1 chargenurse, Sophia, as well as another nurse on staffby the name of Blake, to immediately verify

     2 whetherthe patient hadan advancedirective ofdo-not-resuscitate (hereinafter "DNR")to determine
     3 whether cardiopulmonary resuscitation (or "CPR") could be performed. He also asked them to

     4 provideanassessment. Plaintiffsrequestswereignored. Desperateto savethepatient's life. Plaintiff

     5 tried to locate the patient's "ambubag"(a resuscitationbagwhichconnects to the oxygen source) to

     6 ensure 100% oxygen would be administered to the patient. Despite a search, the ambu bag was
     7 nowhere to be found.

     8          16.     PlaintiffagainaskedthechargenurseandtheNurse Supervisor,Maricela,whetherthe
     9 patient had a DNR and whether the resuscitation team (or the "code blue team") should be called to

    10 resuscitate the patient. Again, Plaintiffs requests were ignored. As a final attempt. Plaintiffcalled the

    11 Emergency Room Doctor at the Surge 4 Unit, Defendant Abudu. Plaintiff asked Dr. Abudu if he is
.   12 allowedto revive the patient, as there may be a DNR. Dr. Abuduresponded, "Whatfor? There's no

    13 point in reviving. Let him go with dignity."
    14          17.    The patient died.
    15          18.    On or about October 7, 2020 Plaintiff sent Pacifica; Defendant Gregg Yost of

    16 Pacifica's HumanResourcesDepartment;andDefendantPreciousMayes(Pacifica's CEO)a detailed
    17 letter, complaining that Pacifica, and its employees, had failed to follow the proper procedures

    18 regarding advance directives andDNRpertaining to the patient, all in violation of: 42 U. S. C. §1395cc;
    19 42 C. F.R. § 482. 13; 42 C. F. R. § 489. 102; 42 C. F. R. § 417. 436; Cal. Probate Code §§ 4701, 4731,

    20 4733, 4736, 4740-43, Cal. Bus. & Prof. Code §§ 3700, et seq., as well as the general standards and

    21 requisite duties ofcare owedby healthcareproviders to patients.
    22          19.    Havingneverheardback,onor aboutNovember20, 2020, Plaintiffsentanotheremail

» 23 to Pacificaand Yost, again explaining the facts of the August 30, 2020 incident, and that Pacifica,
    24 including the nurses, employees, and Dr. Abudu, all "violated the law."
    25         20.     JustthreedaysaflterreceivingPlaintiff'slast complaint, PacificaterminatedPlaintiff's

    26 employment on or aboutNovember23, 2020.
    27 ///

    28 ///


                                                      COMPLAINT
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      1                                            FIRST CAUSE OF ACTION

     2                                     VIOLATION OF LABOR CODE § 1102.5

     3                       (Against Defendant PACIFICA OF THE VALLEY CORPORATION)

     4              21.      Plaintiffrealleges and incorporates all preceding paragraphs, asthough set forth in full
     5    herein.

     6              22.      Plaintiff attempted to disclose and remedy Pacifica's violations of both state and

*    7 federallawbyobjectingto andcomplainingaboutthem. Plaintiffdisclosedtheviolationsto Pacifica's

     8 management, to persons with authority over him, and to another employee who had authority to

     9 investigate, discover, or correct the violation or noncompliance, specifically, the charge nurse, the

    10 Nursing Supervisor, Defendant Yost ofPacifica's Human Resources Department, and Defendant
    11 Precious, the CEO.

    12              23.      Pacificaviolated LaborCode 1102.5 by, inter alia:

    13                    a. Making, adopting or enforcing a mle, regulation or policy preventing Plaintiff from
    14                       disclosinginformationto a governmentorlawenforcementagency,orto a personwith
    15                       authority over the employee, oi- to another employee who has authority to investigate,

    16                       discover, or correct the violation or noncompliance, where Plaintiff had reasonable

    17                       cause to believe that the information disclosed a violation of state or federal statute, or

    18                       a violation or noncompliance with a state or federal regulation;

    19                    b. Retaliating against Plaintiff for disclosing information to a government or law

    20                       enforcement agency, to a person with authority over the employee or another
    21                       employee who has the authority to investigate, discover, or correct the violation or
    22                       noncompliance, where Plaintiffhad reasonable cause to believe that the information
    23                       discloses a violation of state or federal statute, or a violation or noncompliance with a

    24                       state or federal rule or regulation;

    25                c. Retaliating againstPlaintififforrefusing to participate in an activity that would result
    26                       in a violation of state or federal statute, or a violation or noncompliance with a state or

    27                       federal rule or regulation; and,
    28                d. Retaliating against Plaintiff for having exercised his rights under the foregoing

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                                                             COMPLAFMT
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  1                    paragraphs29 a, b and c.

  2             24.    PacificaresistedandopposedPlaintiffsattemptsto disclose andremedy its violations

  3 of both California and Federal law, including, but not limited to: 42 U. S.C. §1395cc; 42 C.F.R. §
 4 482. 13; 42 C. F.R. § 489. 102; 42 C. F.R. § 417. 436; Cal. Probate Code §§ 4701, 4731, 4733, 4736,

 5 4740-43, Cal. Bus. & Prof. Code §§ 3700, etseq., as well asthe general standards andrequisite duties
 6 of care owed by healthcare providers to patients. Indeed Pacifica retaliated against Plaintiff for

 7 disclosing Pacifica's violations and unlawful practices and for refusing to participate in them by
 8 terminating him.

 9              25.    As a direct and proximate cause of Pacifica's violation of Labor Code        1102.5,
10 Plaintiff has suffered damages, including, but not limited to, lost wages and work benefits, in a sum

11    to be determined at trial.

12              26.    As a proximate result of the wrongful acts of Pacifica, Plaintiff has suffered and

13 continuesto sufferactual, consequential,andincidentalfinanciallosses, includingwithoutlimitation,

14 loss of salary and benefits, emotional distress, humiliation, mental anguish, anger, and
15 embarrassment, all in an amount subject to proofatthe time oftrial.
16              27.    The aforementioned acts of Pacifica were willful, wanton, malicious, intentional,

17 oppressive, anddespicable,andweredonein willful andconsciousdisregardoftherights ofPlaintiff,
18 and were done by managerial agents and employees of Pacifica, or with the express knowledge,

19 consent, and ratification of managerial employees of Pacifica, and thereby justify the awarding of

20 punitive and exemplary damages in an amount to be detennined at the time of trial.
21                                      SECOND CAUSE OF ACTION

22                    WRONGFULDISCHARGEIN VIOLATIONOF PUBLICPOLICY

23                    (Against Defendant PACIFICA OF THE VALLEY CORPORATION)
24              28.   Plaintiffrealleges and incorporates all preceding paragraphsas though fully set forth
25    herein.

26              29.   Plaintiffs multiple complaintsregardingPacifica's violationofCaliforniaandFederal
27 law, all discussed above, were jointly and severally substantial factors in Pacifica's decision to
28 terminate Plaintiff s employment.

                                                       5
                                                   COMPLAINT
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  1           30.    Plaintiff's discharge was wrongful in that it violated the fundamental public policies
 2 ofthis State and of the United States prohibiting retaliation. These public policies are embodied in
 3 Labor Code §1102. 5.

 4            31.    As a direct and proximate cause of Pacifica's wrongful discharge. Plaintiff has

 5 suffered and will continue to suffer damages in an amount within thejurisdiction of this court, the

 6 exactamount to beproven attrial.
 7            32.    As a proximate result ofthe wrongful acts ofPacifica,and each ofthem. Plaintiffhas

 8 suffered and continues to suffer actual, consequential and incidental financial losses, including

 9 withoutlimitation, loss ofsalary andbenefits, emotional distress, humiliation, mental anguish,anger,

10 andembarrassment, all in an amount subjectto proofat the time oftrial.
11           33.     The aforementioned acts of Pacifica were willful, wanton, malicious, intentional,

12 oppressive,anddespicable,andweredoneinwillful andconsciousdisregardoftherights ofPlaintiff,
13 and were done by managerial agents and employees of Pacifica, or with the express knowledge,
14 consent, and ratification of managerial employees of Pacifica, and thereby justify the awarding of

15 punitive andexemplary damagesin an amountto be determined at the time oftrial.
16                                       THIRD CAUSEOF ACTION

17                    INTENTIONALINFLICTIONOF EMOTIONALDISTRESS

18                                          (Against All Defendants)

19           34.     Plaintiffrealleges and incorporates all preceding paragraphs, as though set forth in full

20 herein.

21           35.     Defendants' retaliatory actions against Plaintiff constituted severe and outrageous
22    misconduct and caused Plaintiff extreme emotional distress.

23           36.    Defendantshadthe intention ofcausing and/or recklessly disregardedthe probability

24 of causing emotional disto-ess to Plaintiff and did, in fact, cause emotional distress to Plaintiff.
25 Defendants' misconduct caused Plaintiff severe emotional distress, including, but not limited to,

26 depressionand anxiety.
27           37.    As a proximate result of Defendants' extreme and outrageous conduct. Plaintiff has

28    suffered and continues to suffer severe emotional distress. Plaintiff has sustained and continues to

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      1 sustainsubstantial losses ofearningsand other employment benefitsas a result ofbeingemotionally
      2   disti-essed.

      3            38.   As a proximate result of Defendants' exti-eme and outrageous conduct, Plaintiffhas

*    4 suffered and continues to suffer humiliation, emotional distress, and mental and physical pain and

      5 anguish,all to his damagein a sum accordingto proof.

     6            39.    Defendants' misconductwasdone intentionally, in a malicious and oppressive

     7 manner, entitling Plaintiffto punitive damages.
     8                                     FOURTH CAUSEOF ACTION

     9                      NEGLIGENTINFLICTIONOF EMOTIONALDISTRESS

    10                                         (Against All Defendants)

    11            40.    Plaintiffreallegesandincorporates all precedingparagraphs,asthoughsetforth in full
    12 herein.

    13            41.    Defendants owed Plaintiff a duty because of their preexisting relationship as

    14 employer-employee, employee-manager/superior, or coworkers, to refrain from retaliating Plaintiff
» 15 becauseofhis complaints in violation ofLaborCode § 1102.5

    16            42.    Defendantsoweda furtherduty to Plaintiffto take reasonablestepsto take reasonable
    17 action to avoid these wrongful acts and to reasonably deal with them upon learning oftheir existence.

    18            43.    Defendants' acts and/or omissions constituting, authorizing, condoning, and ratifying

    19 retaliation, as alleged above, toward Plaintiff, and Defendants' failure to take reasonable steps to

    20 avoid these wrongful acts or reasonably deal withthem upon learning oftheir existence, constituted

    21 breachesoftheir respective duties.
    22            44.    As a proximate result of Defendants' extreme and outrageous conduct, Plaintiff has

    23 suffered and continues to suffer severe emotional distress. Plaintiff has sustained and continues to

    24 sustainsubstantial losses ofearningsandother employment benefitsas a result ofbeing emotionally
    25 distressed.

    26            45.    As a proximate result of Defendants' extreme and outrageous conduct. Plaintiffhas
    27 suffered and continues to suffer humiliation, emotional distress, and mental and physical pain and

    28 anguish, all to his damage in a sum according to proof.

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                                                      COMPLAENT
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      1          46.    The aforementioned acts of Defendantswere willful, wanton, malicious, intentional,

     2 oppressive, anddespicable,andweredonein willful andconsciousdisregardoftherights ofPlaintiff,
     3 and were done by managerial agents and employees ofDefendants, or with the express knowledge,

     4 consent, andratificationofmanagerialemployees ofDefendants,andtherebyjustify the awardingof

     5 punitive and exemplary damages in an amount to be determined at trial.
     6                                         FIFTHCAUSEOF ACTION

     7                  VIOLATION OF BUSINESS & PROFESSIONS CODE § 17200

     8                 (Against Defendant PACIFICA OF THE VALLEY CORPORATION)
     9           47.   Plaintiffre-alleges andincorporates all precedingparagraphsasthoughfully set forth
»   10 herein.

    11           48.   California Business and Professions Code §§17200 et seq. (also referred to herein as

    12 the "Unfair Business Practices Act," "Unfair Competition Law," or "UCL"), prohibits unfair

    13 competition in the form of any unlawful, unfair, or fraudulent business acts or practices.
    14           49.   CaliforniaBusinessandProfessionsCode §17204allowsa personinjuredbytheunfair

    15 business acts or practices to prosecute a civil action for violation ofthe UCL.
    16           50.   Pacifica committed acts of unfair competition as defined by the Unfair Business

    17 PracticesAct, by engagingintheunlawful,unfairandfraudulentbusinessactsandpracticesdescribed
    18 in this complaint, including, but not limited to, violation ofLabor Code § 1102. 5 and common law.
    19           51.   The violations ofthese laws andregulations, as well as ofthe fundamental California

    20 public policies underlying them, serve as unlawful predicate acts and practices for the purposes of
    21 Business and Professions Code §§17200 et seq.

    22           52.   The acts andpractices alleged above have unlawfully deprived Plaintiffofthe rights
    23 due to him underthe law while enabling Pacificato gainan unfair competitive advantageover law-

    24 abidingemployers and competitors.
    25           53.   As a direct andproximateresult ofthe aforementionedactsandpractices. Plaintiffhas
    26 suffereda loss ofmoney andproperty in the form ofwagesandbenefitsthathewouldhavecontinued

    27 to receive as an employee ofPacifica.
    28           54.   Plaintiff seeks an order of this Coiu-t awarding restitution, injunctive relief, and all

                                                          8
                                                     COMPLAINT
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         1   other legal and equitable relief allowed under Business & Professions Code §17200 et seq., plus
      2      interest, attorneys' fees andcosts pursuantto, inter alia. Code ofCivil Procedure Section 1021.5.
      3                                            PRAYER FOR RELIEF
      4             WHEREFORE,Plaintiffprays for reliefandjudgment againstDefendantsas follows:

.
      5             1.      For all actual, consequential, andincidentaldamages, includingbut not limited to
      6      back pay, front pay, loss of earnings, and employee benefits, according to proof;
      7             2.      For general and special damages according to proof;
      8             3.      Forrestitution for unfair competitionpursuantto Business & ProfessionsCode
      9      § 17200, including disgorgement ofprofits resulting from Defendants' unlawful business acts and
     10 practices, accordingto proof;

     11             4.      For an order enjoiningDefendantsandtheir agents, servants, and employees, andall
     12 persons acting under, in concert with, or for them, from acting in derogation of any rights or duties

     13 adumbrated in this complaint;

     14             5.     Forpre-judgment andpost-judgment interest, accordingto proof;
     15             6.     Forpunitive andexemplary damages,accordingto proof;
     16             7.     For attorneys' fees, accordingto proof;
K


     17             8.     For costs of suit incurred herein;

     18             9.     For suchotherreliefthe Court may deemjust andproper.
     19                                        DEMANDFORJURYTRIAL

    20              Plaintiffhereby demands a jury trial on all issues so triable.
    21

    22 Dated: April 22, 2021                               SETAREH LAW GROUP

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    24
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                                                           Shaun Setareh
    26                                                     David Keledjian
                                                           Attorneys for Plaintiff
    27                                                    AL FUASTINO DE GUZMAN

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                                                          COMPLAINT
